                             Case No. 23-1566

                                    In the
                       United States Court of Appeals
                           for the Fourth Circuit


                          GARY WASHINGTON,

                             Plaintiff-Appellant,

                                      v.

  THOMAS PELLEGRINI, OSCAR REQUER, and HELEN FAHLTEICH,
      Personal Representative of the Estate of Richard Fahlteich,

                           Defendants-Appellees.


               On Appeal From The United States District Court
                   For The District of Maryland at Baltimore
            Dist. Ct. No. 1:19-CV-2473-RDB (Hon. Stephanie A. Gallagher)

             OPENING BRIEF OF PLAINTIFF-APPELLANT
                         (CORRECTED)

                                           LOEVY & LOEVY
                                           Jon Loevy
                                           Gayle Horn
                                           Roshna Bala Keen
                                           Renee Spence
                                           311 N. Aberdeen, 3rd FL
                                           Chicago, Illinois 60607
                                           (312) 243-5900

                                           Counsel for Plaintiff-Appellant

October 24, 2023
USCA4 Appeal: 23-1566         Doc: 16           Filed: 06/14/2023       Pg: 1 of 2




                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            23-1566
        No. __________             Caption: __________________________________________________
                                            Gary Washington v. Thomas Pellegrini, et al.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Gary Washington
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                      Plaintiff-Appellant     makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                   -1-
USCA4 Appeal: 23-1566      Doc: 16           Filed: 06/14/2023       Pg: 2 of 2




        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s Renee Spence
        Signature: ____________________________________                     Date: ______June 14, 2023____

                     Gary Washington
        Counsel for: __________________________________




                                                      -2-               Print to PDF for Filing
                                         TABLE OF CONTENTS

STATEMENT IN SUPPORT OF ORAL ARGUMENT .......................................... 1

JURISDICTIONAL STATEMENT .......................................................................... 2

STATEMENT OF ISSUES ....................................................................................... 3

STATEMENT OF CASE .......................................................................................... 4

         The Murder of Faheem “Bobo” Ali................................................................. 4

         The Police Decide On The Shooter
         Without Any Investigation .............................................................................. 5

         Defendants Fabricate A Statement Against Gary Washington
         And Force 12-year-old Otis Robinson To Sign It ........................................... 6

         Otis’ Third Statement: Another Fabricated Report ......................................... 9

         Defendants Fabricate An Identification
         From 13-year-old Rozetta Dorsey ................................................................. 11

         Washington is charged and convicted based on false witness testimony and
         due to suppressed evidence............................................................................ 15

         Washington’s Extensive Damages ................................................................ 16

Procedural History ................................................................................................... 17

SUMMARY OF ARGUMENT ............................................................................... 21

ARGUMENT ........................................................................................................... 22

I.       COLLATERAL ESTOPPEL DOES NOT BAR WASHINGTON’S §1983
         CLAIMS ........................................................................................................22




                                                            i
      A.    Applicable Legal Standard and Summary of the Argument ............... 23

      B.    Judge Schwait’s 1999 Order Is Not Valid and Final .......................... 26

            1.       Vacated Criminal Convictions, and the Orders
                     Intertwined With Those Convictions,
                     Do Not Have Preclusive Effect ................................................. 26

            2.       The District Court Erred In Finding That the 1999 Order Was
                     Exempted From the General Rule Rejecting Collateral Estoppel
                     In These Circumstances ............................................................ 29

            3.       The 1999 Order Cannot Be Considered Valid and Final After
                     the 2016 Order .......................................................................... 37

      C.    The 1999 Order Was Cursory and Ambiguous As To Its Factual
            Findings, Such That The “Actually Determined”
            Element Cannot Be Met ...................................................................... 39

      D.    Applying Collateral Estoppel In This Case
            Is Inequitable ....................................................................................... 41

II.   Washington’s Fabrication Claim Should Be Tried by a Jury........................ 43

      A.    The District Court’s Error in Precluding Washington from
            Challenging Otis’s Statements
            and Identifications Warrants Reversal ................................................ 44

      B.    The District Court Erred in Finding Rozetta’s Fabrication
            Immaterial ........................................................................................... 45

            1.       When Otis’s statement is properly considered,
                     there was no probable cause ..................................................... 46

            2.       Rozetta’s Statement did not have to be introduced at trial to
                     deprive Washington of his liberty ............................................. 47

                                                      ii
III.     A Trial Is Required on Washington’s
         Suppression of Evidence Claim ..................................................................... 50

IV.      Washington’s Federal Unlawful Detention And
         Malicious Prosecution Claims Must Be Tried............................................... 57

V. Washington’s Intentional Infliction of
Emotional Distress Claim Must Be Tried ................................................................ 57

CONCLUSION ........................................................................................................ 60

CERTIFICATE OF COMPLIANCE

CERTIFICATE OF FILING AND SERVICE




                                                         iii
                                   TABLE OF AUTHORITIES
Aguillard v. McGowen, 207 F.3d 226 (5th Cir. 2000) .............................................. 27
Allen v. McCurry, 449 U.S. 90 (1980) ..................................................................... 33
Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) ............................................ 56
Barbee v. Warden, Md. Penitentiary,
        331 F.2d 842 (4th Cir. 1964) .......................................................................... 57
Barnett v. Cabell County Comm’n, No. CV 3:22-0203,
        2023 WL 2602509 (S.D.W. Va. March 22, 2023) ......................................... 48
B.N. v. K.K., 312 Md. 135, 148 (Md. Ct. App. 1988) .............................................. 59
Bermudez v. City of New York,
        790 F.3d 368 (2d Cir. 2015) ...................................................28, 29, 31, 34, 41
Brengle v. Greenbelt Homes, Inc.,
        804 F. Supp. 2d 447, 455 (D. Md. 2011) .................................................58, 59
Brisco v. Stinar, No. 19-CV-7233,
        2020 WL 7027719 (N.D. Ill. Nov. 30, 2020) ................................................ 26
Brown v. City of Chicago, 599 F.3d 772 (7th Cir. 2010) ......................................... 41
Burgess v. Baltimore Police Dep’t, No. CV RDB-15-0834,
        2017 WL 4947004 (D. Md. Oct. 31, 2017) .............................................47, 58
Calhoun-El v. State, 2020 WL 2991786
        (Md. Ct. Spec. App. June 4, 2020) ................................................................ 36
Campbell v. Lake Hallowell Homeowners Ass’n,
        852 A.2d 1029 (Md. Ct. Spec. App. 2004) ..............................................23, 39
Campbell v. State, 373 Md. 637 (2003) ................................................................... 38
Dodrill v. Ludt, 764 F.2d 442 (6th Cir. 1985) ..................................................27, 423
Donald v. Outlaw, 2023 WL 2346270 (N.D. Ind. Mar. 3, 2023) ............................. 34
Dukes v. City of Albany, 289 F. Supp. 3d 387 (N.D.N.Y. 2018) .............................. 34
Estate of Bryant v. Baltimore Police Dep’t, No. CV ELH-19-384,
                                                       iv
        2020 WL 673571 (D. Md. Feb. 10, 2020) ..................................................... 46
Evans v. Katalinic, 445 F.3d 953 (7th Cir. 2006) .........................................26, 28, 43
Garrity v. Maryland State Bd. of Plumbing, 447 Md. 359 (2016) ........................... 41
Gilliam v. Sealey, 932 F.3d 216 (4th Cir. 2019) ................................................passim
Glenn v. City of Hammond,
        2021 WL 4078063 (N.D. Ind. Sep. 7, 2021) .....................................29, 31, 34
Goudy v. Cummings, 922 F.3d 834 (7th Cir. 2019).................................................. 49
Gray v. Farley, 13 F.3d 142 (4th Cir. 1993)............................................................. 22
Griffin v. Baltimore Police Dep’t, 804 F.3d 692 (4th Cir. 2015).............................. 34
Halsey v. Pfeiffer, 750 F.3d 273, 294 n.19 (3d Cir. 2014) ....................................... 48
Harris v. Jones, 380 A.2d 611 (Md. Ct. App. 1977) ..........................................58, 59
Heck v. Humphrey, 512 U.S. 477 (1994) .....................................................32, 33, 34
Howard v. City of Durham, 68 F.4th 934 (4th Cir. 2023) ..................................45, 55
Howard v. Dowdy, No. 1:17-CV-477,
        2022 WL 1720156 (M.D.N.C. May 27, 2022) .............................................. 45
Humbert v. Mayor & City Council of Baltimore City,
        866 F.3d 546 (4th Cir. 2017) .......................................................................... 46
Jackson v. City of Cleveland, 925 F.3d 793 (6th Cir. 2019) .................................... 48
Jackson v. Coalter, 337 F.3d 74 (1st Cir. 2003) ....................................................... 27
Johnson v. Gondo, No. CV GLR-19-995,
        2020 WL 1529002 (D. Md. Mar. 31, 2020)................................................... 50
Juniper v. Davis, 74 F.4th 196 (4th Cir. 2023) ......................................................... 49
Knibbs v. Momphard, 30 F.4th 200 (4th Cir. 2022) ................................................. 22
Korczak v. Sedeman, 427 F.3d 419 (7th Cir. 2005) .................................................. 26
Kyles v. Whitley, 514 U.S. 419 (1995) ...............................................................56, 57
Long v. Hooks, 972 F.3d 442 (4th Cir. 2020) ........................................................... 48
Manuel v. City of Joliet, 580 U.S. 357 (2017) ......................................................... 46
                                                       v
Martin v. Conner, 882 F. Supp. 2d 820 (D. Md. 2012)............................................ 44
Microsoft Corp. Antitrust Litig., 355 F.3d 322 (4th Cir. 2004)................................ 40
Migra v. Warren City Sch. Dist. Bd. of Educ., 465 U.S. 75 (1984) ......................... 22
Miller v. Prince George’s Cty., 475 F.3d 621 (4th Cir. 2007) ............................46, 47
Mills v. City of Covina, 921 F.3d 1161,
        1170 & n.2 (9th Cir. 2019)............................................................................. 27
Mitchum v. Foster, 407 U.S. 225 (1972).................................................................. 33
Montana v. United States, 440 U.S. 147, 164 n.11 (1979) ...................................... 43
Morgan v. Morgan, 68 Md. App. 85, 94 (1986)....................................................... 43
Morgan v. Schott, 914 F.3d 1115 (7th Cir. 2019) ..................................................... 32
No E.-W. Highway Comm., Inc. v. Chandler,
        767 F.2d 21 (1st Cir. 1985) ............................................................................ 26
O’Connell v. Alejo, No. 18-CV-01359-RBJ,
        2020 WL 1244852 (D. Colo. March 16, 2020) ............................................. 28
Owens v. Baltimore City State's Att'ys Off.,
        767 F.3d 379 (4th Cir. 2014) ...................................................................50, 57
Peterson v. Heymes, 931 F.3d 546 (6th Cir. 2019) .................................................. 28
Richman v. FWB Bank, 712 A.2d 41, 59 (Md. Ct. Spec. App. 1998),
        aff'd, 354 Md. 472, 731 A.2d 916 (1999) ...................................................... 24
Rizk v. Mehirdel, No. 14-CV-06434 (HG),
        2022 WL 5184709 (E.D.N.Y. Oct. 5, 2022) .................................................. 50
Schand v. McMahon, 487 F. Supp. 3d 71 (D. Mass. 2020) ...............................29, 34
Schlup v. Delo, 513 U.S. 298 (1995)........................................................................ 59
Sedar v. Reston Town Ctr. Prop., LLC, 988 F.3d 756 (4th Cir. 2021)...................... 51
Shader v. Hampton Imp. Ass’n, Inc. 443 Md. 148 (2015) ....................................... 38
Sheetz v. Wal-Mart Stores, E., L.P., No. 4:15-CV-02210,
        2017 WL 5625770 (M.D. Pa. Nov. 22, 2017) ............................................... 54
                                                       vi
Shipley v. Disney, No. CV SAG-21-3173,
        2022 WL 2789076 (D. Md. July 15, 2022) ................................................... 44
Siggers v. Alex, 2021 WL 4391170 (E.D.Mich. Sep. 24, 2021) ........................34, 35
Smith v. Cain, 565 U.S. 73 (2012) .......................................................................... 57
Stone v. Williams, 970 F.2d 1043 (2d Cir. 1992)...................................................... 27
Swentek v. USAIR, Inc., 830 F.2d 552 (4th Cir. 1987) .......................................24, 41
Tillman v. Orange County, 519 F. App’x 632 (11th Cir. 2013) ............................... 27
Ufheil Const. Co. v. Town of New Windsor,
        478 F. Supp. 766 (S.D.N.Y. 1979) ................................................................. 40
Ufheil Constr. Co. v. Town of New Windsor,
        636 F.2d 1204 (2d Cir. 1980) ......................................................................... 40
United States v. Alahmedalabdaloklah, 76 F.4th 1183 (9th Cir. 2023) ................... 49
United States v. Ayres, 76 U.S. 608 (1869) .............................................................. 27
United States v. Bagley, 473 U.S. 667 (1985).......................................................... 57
United States v. Williams, 904 F.2d 7 (7th Cir. 1990) .............................................. 27
Velez v. City of Chicago, No. 1:18-CV-08144,
        2023 WL 6388231 (N.D. Ill. Sept. 30, 2023) ................................................ 49
Waller v. Dir., Patuxetnt Inst., 244 Md. 229 (1966) ...........................................35, 36
Washington v. Wilmore, 407 F.3d 274 (4th Cir. 2005) ............................................. 44
Wearry v. Cain, 136 S. Ct. 1002 (2016) ........................................................................ 56
Whitlock v. Brueggemann, 682 F.3d 567 (7th Cir. 2012)......................................... 48
Woods by & through Wade v. City of Reno,
        Nevada, 2018 WL 493015 (D. Nev. Jan. 18, 2018)....................................... 27
Wyatt v. Cole, 504 U.S. 158 (1992) .......................................................................... 51
Youngblood v. W. Virginia, 126 S. Ct. 2188 (2006) ................................................. 56
Zeneca Ltd. v. Novopharm Ltd., 919 F. Supp. 193 (D. Md. 1996) .......................... 26
Regulations:
                                                       vii
28 U.S.C. § 1738 ....................................................................................................23

28 U.S.C. § 1291 ........................................................................................................ 2

28 U.S.C. § 1367 ........................................................................................................ 2

28 U.S.C. § 1331 ........................................................................................................ 2

Rules:

Md. Code Ann., Crim. Proc. § 7-101 et seq ............................................................ 30

Md. Code Ann., Crim. Proc. § 8-301 et seq ............................................................. 30




                                                           viii
            STATEMENT IN SUPPORT OF ORAL ARGUMENT

      Because this case presents important issues, including the application of

collateral estoppel in 42 U.S.C. § 1983 cases, Washington requests that the Court

hear oral argument.




                                         1
                       JURISDICTIONAL STATEMENT

      The district court had jurisdiction over Washington’s federal claims under

28 U.S.C. § 1331 and state law claims under 28 U.S.C. § 1367. JA00021. Claims

against the Baltimore Police Department were bifurcated. JA03801. On April 12,

2023, the district court granted summary judgment in favor of the individual police

officers. JA03837. On May 16, 2023, Washington’s request to certify its summary

judgment order under Federal Rule of Civil Procedure 54(b) was granted.

JA03841. Washington’s timely appealed on May 23, 2023. JA03842. This Court

has jurisdiction under 28 U.S.C. § 1291.




                                           2
                            STATEMENT OF ISSUES

      1.     Whether collateral estoppel applied to bar Washington from arguing

that Defendants coerced Otis Robinson, the State’s only eyewitness, into adopting

Defendants’ fabricated statement inculpating Washington in a murder, where a

1999 post-conviction court had found Otis incredible, but a 2016 writ of actual

innocence court found Otis’s testimony so persuasive it warranted vacating

Washington’s conviction (which, in turn, vacated all of the prior judgments arising

out of that conviction)?

      2.     Where the district court’s erroneous application of collateral estoppel

led it to grant summary judgment on Washington’s fabrication, unlawful detention,

failure-to-intervene, and intentional infliction of emotional distress claims, because

the court improperly precluded Washington from relying on evidence that

Defendants fabricated Otis’ false identification of Washington, whether reversal on

collateral estoppel warrants reversal on these other claims?

      3.     Whether the district court erred in granting summary judgment on

Washington’s suppression claim where Washington presented substantial evidence

that the Defendants suppressed (i) initial statements from the only two witnesses

that they did not actually see the shooter (and thus contradicted their identifications

of Washington), and (ii) evidence that they threatened, fed facts to, and coerced

these two witnesses into adopting a fabricated story?


                                          3
                         STATEMENT OF THE CASE

      For three decades, Gary Washington was imprisoned for a crime he did not

commit: the murder of Faheem Ali. JA630, JA572. He has steadfastly maintained

his innocence. See, e.g., JA511, JA807.

      There was no physical evidence connecting Washington to the crime. JA840.

      The evidence used to charge and convict Washington consisted solely of

statements taken from two children, who have since testified under oath repeatedly

that they did not see who committed the shooting. Otis Robinson and Rozetta

Dorsey were only 12 and 13 years old, respectively, when detectives prepared false

statements for them to sign implicating Washington in the shooting. With no

credible evidence of guilt, Washington’s conviction was vacated on August 20,

2018. JA837-842. On January 15, 2019, the State dismissed the charges against

Washington.

                      The Murder of Faheem “Bobo” Ali

      On December 27, 1986, Faheem “Bobo” Ali was shot and killed. JA843.

      Washington saw the shooting take place from inside his home at 2328

Barclay Street, Baltimore. JA 744-745. Shortly before the shooting, Washington

was downstairs in his basement friend, Lawrence Thomas, and brother-in-law,

Ronald Brady. JA723. At some point, Thomas had to leave, so Washington asked

Brady to see Thomas out and lock the front door. JA727.

                                          4
        Washington then went upstairs. JA744-745. Seeing the front door still open,

he went to shut and lock it. JA744-745. When he got to the front door, he saw

Thomas, Brady, and Bobo standing outside. JA744-745. Washington saw Thomas

pull out a gun and hit Bobo. JA744-745. Bobo raised his hands to shield himself.

JA744-745. Thomas’s gun went off, hitting Bobo. JA744-745. Bobo ran and

collapsed across the street from Washington’s residence. JA744-745; JA844.

Thomas and Brady then fled toward Camp Street. JA744-745.

          The Police Decide On The Shooter Without Any Investigation.

        The police came and spoke to witnesses who had heard the shot but were not

able to identify the shooter, and, at most, could relate only basic characteristics and

clothing. JA1057; JA844.

        Defendant Requer admits that he set his sights on Washington as a suspect

before a single witness mentioned Washington’s name, let alone identified him as

being involved in the crime. JA1441-1442, JA1454-1455. He had no explanation

nor legitimate evidence pointing in Washington’s direction. JA1441-1442, JA1454-

1455.

        All the police knew was that the victim’s body was found across the street

from Washington’s home. Additionally, interviews at the scene indicated that the

victim had been speaking with Washington’s brother Ricky (not Washington) in

front of 2328 Barclay sometime earlier that day. JA845.

                                           5
      Finally, an anonymous tip stated that a “Gary Ward” (again, not Washington)

was involved. JA1451-1452; JA845. The tip was all it took for Requer to target

Washington. JA1449-1455. Requer admits he assumed Gary Ward was a mistaken

reference to Washington, even though the last names sound nothing alike, and no

one had seen Washington at the crime scene. JA844-845; JA1432, JA1445,

JA1447, JA1455. Based on these tenuous connections, Defendants decided

Washington was the perpetrator and set to manufacture supporting witnesses.

          Defendants Fabricate A Statement Against Washington And
                 Force 12-year-old Otis Robinson To Sign It.
      On the night of the murder, a 12-year-old child named Otis Robinson was at

2311 Barclay Street, at his mother’s boyfriend’s home. JA1622. His mother sent

him to the store. JA1622. In the dark, he saw three men across the street in front of

Washington’s house, talking. JA1623. As Otis began walking, he heard a gunshot.

JA1623.

      Otis did not see any of the men’s faces and could not provide the police with

any additional information about the shooting. JA1622. Nevertheless, BPD

detectives interrogated Otis at police headquarters without his mother present.

JA1624-1625; JA1675; JA1626; JA1708-1709. Otis told them the truth: he saw

three guys standing across the street talking, heard a gunshot, and so ran back to

2311 Barclay. JA1704-1705. Otis told Defendants he could not identify any of the

men. JA1627.

                                          6
      Defendants, including Pellegrini, wrote down Otis’s initial, truthful

statement. JA1627-1628, JA1634; JA1635. But Defendants did not have Otis sign

the statement, nor did they disclose it to the prosecution. See JA241-JA245

(disclosing no exculpatory statement).

      Rather, Otis’s signed, written statement, the one Defendants used as the basis

for Washington’s prosecution, was in fact Otis’ second statement, which they

misrepresented as his first. JA1629-1630. That second statement is false, and

Defendants knew it.

      Otis had already told Requer, Fahlteich, and Pellegrini that he observed the

lead-up to the shooting but did not see the shooting itself, nor the shooter. In

response, they accused young Otis of lying and threatened to take him away from

his mother forever. JA1630. They even accused him of “setting” Bobo up. JA1706-

1707. Otis insisted he was telling the truth, but that only made the detectives get

louder. JA1706-1707. They repeatedly told Otis they suspected Washington.

JA1631, JA2110-2112.

       It was Defendants, not Otis, who identified Washington as the shooter.

JA1654 (Q: “You told all of that to [the detectives]; isn’t that right?” A: “They told

me Washington was the shooter.”). Detectives fed Otis the “fact” that “Gary hit

Bobo in the jaw, then drawed his gun.” JA1723. They also fed Otis “facts”

incorporated into his false written statement: the getaway car was red; the men


                                           7
involved in the shooting were “arguing over money”; and the victim’s name, Bobo.

JA1673-1674; JA1720, JA1707. See also JA1731-1732, JA1880, JA1882, JA1898.

      Additionally, Requer showed Otis individual photos of Washington and

Ricky, asking whether Otis thought Washington did the shooting. JA1709-1715.

Otis knew Washington and Ricky from the neighborhood but could not identify the

shooter—as he had told Defendants. JA1709-1714; JA1627-1628. Requer told Otis

Washington and Ricky “were bad dudes,” and Fahlteich told Otis that either

Washington or Ricky shot Bobo. JA1711-1712. A Defendant said, “We know one

of them did it.” JA1714. Requer kept pointing his finger on the top of

Washington’s picture—singling him out. JA1710.

      After this, Defendants introduced a photo array of six mugshots that

included Washington and Ricky’s photos. JA3847. 1 They told Otis they knew “one

of them did it, all you got to do is point one of them out.” JA1714. Otis understood

that Defendants “wanted [him] to go along with them” and identify one of the two

brothers. JA1715. Otis selected Washington’s picture because Requer kept tapping

it with his finger. JA1715-1716.

      For much of this interrogation, which alternated between threats and feeding

Otis facts, Otis’s mother was not present in the room with him. JA1709.

1
 Defendants also showed Otis a picture of Lawrence Thomas and mentioned him
by name, asking if Otis knew him. JA1663. Otis said he did not. JA1663.


                                         8
Defendants understood this violated BPD policy. JA1097; JA1295-1296.

Defendants sent Otis’ mother from the interrogation room so they could question

him without her. JA2217-2220. Otis’ mother recalled he was afraid, confused, and

crying. JA2217-2220.

      Omitting what Otis actually saw and Defendants’ threats and blatant fact-

feeding, Defendants fabricated that Otis identified Washington as the shooter.

Defendants prepared a handwritten question-and-answer style “statement,”

attributed to Otis, in which they falsely reported that Otis made an untainted photo

identification of Washington and that Otis saw Washington argue with and shoot

Bobo. The report omitted the suggestive actions Defendants used during the

identification procedure and simply reported that Otis “indicate[d] the picture of

the person who shot [Bobo].” JA2397. Because of Defendants’ pressure and

intimidation, on December 29, 1986, Otis signed this fabricated handwritten

statement falsely implicating Washington as Bobo’s shooter. JA2394-2397;

JA1685.

               Otis’ Third Statement: Another Fabricated Report

      On January 2, 1987, Defendants brought Otis back to the station to sign

Defendant’s typed statement, prepared by Requer, falsely implicating Washington.

JA 1689-1690; JA2398-2402. Again, the statement contained falsehoods, supplied




                                          9
by Defendants, about Otis observing Washington arguing with and shooting the

victim. JA01730-01733.

      Defendants also showed Otis a different photo array, again with

Washington’s photograph. JA01733-1735; JA3849-3856. Otis again selected

Washington because he “just wanted to get out of the police station, and went

along with what they said.” JA1733.

      As with the first false statement four days earlier, Otis adopted Defendants’

typed false statement because he was scared and knew Defendants were not going

to release him until he “agreed to do what they…coerced [him] to do.” JA1888;

JA1633. Otis expressly testified he was being held against his will and was not free

to leave. JA1634; JA1888.

      Otis parroted his false statement at the grand jury proceeding for the same

reason: Pellegrini was present, he was “scared,” and “felt as though they wasn’t

going to leave [him] alone unless [he] did what they wanted [him] to do.” JA1639.

Defendants did not disclose to the prosecution or defense the true circumstances of

Otis’ statements -- that he had not been able to identify the shooter, detectives told

him who to implicate, and he was threatened and coerced into adopting the false

statement. JA1121-1123.

      In 1999, Otis was finally able to testify about what Defendants had done.

JA1646. He again disavowed the false police statement at a hearing on


                                          10
Washington’s writ of actual innocence in 2017, and at his 2021 deposition.

JA2101, JA2108; JA1719-1720, JA1723-1724, JA1731-1732.

  Defendants Fabricate An Identification From 13-year-old Rozetta Dorsey

      Defendants also manufactured an identification from Rozetta Dorsey, a 13-

year-old girl. Rozetta recognized the victim but could not identify the shooter,

which is what she told police at the scene when she was interviewed. JA2524-

2525, JA2540.

       The day after the shooting, Defendants circulated a report alluding to a

juvenile female interviewed at the homicide office who saw some of the incident,

stating that this juvenile saw a black man get out of a yellow car, shoot the victim,

and immediately drive off. JA1618. The report states that the witness could give

“no further description” beyond “black male.” JA1618.; JA1434. A subsequent

report three days later, also by Requer and Pellegrini, suggests that this witness was

Rozetta. JA844-845.

      Neither report attributes any physical descriptions—let alone names—of the

shooter or driver to Rozetta. Had Rozetta been able to provide a description or

name, that information would have been included. JA1434-1435. The only

plausible explanation for why the reports contains no suspect name or descriptions

is that the witness stated that she did not know what the shooter(s) looked like, or

who they were—thus “no further description” provided.

                                          11
      Intent on implicating Washington, see supra at 5, Requer began asking

Rozetta about Washington and Ricky. JA845. But Rozetta could not identify the

shooter. She firmly denies telling Defendants she could identify the shooter or

knew who the shooter was. JA2561-2562, JA2599, JA2600, JA2674, JA2675.

Rozetta told them the opposite, but this was never disclosed to the defense or to the

prosecution. JA2437-2438, JA2590; See JA241-245 (contains no disclosure).

      Indeed, Defendants did not document the true circumstances around their

initial encounter with Rozetta—e.g., that if indeed Rozetta was interviewed at the

homicide office, it was without a parent present—contrary to department policy

and Defendants’ normal practice. JA1295-1296; JA1010; see also JA843-845;

JA1618.

      What is clear, however, is that Rozetta could not describe or identify the

shooter when first questioned. It was not until Requer and Pellegrini

brought Rozetta to the homicide unit on January 3, that they obtained a signed

statement from her. See JA2738-2742. By this point, they had secured the false

statements from Otis. JA2394-2402. Perhaps concerned that 12-year-old Otis

would not stand by his false identification and would instead tell the truth (that he

could not identify Bobo’s assailants), Requer and Pellegrini attempted to lock-in a

second witness by targeting another vulnerable child.




                                          12
      Defendants arranged to pick up Rozetta and her mother on January 3 in an

unmarked car. JA2462-2463. BPD Policy required minors to be questioned with a

legal guardian present, and Requer knew this policy. JA1295. Likewise, Requer

knew that it would be improper to take a statement from a minor child whose

parent was intoxicated or high during the interview. JA1538, JA1539. But that is

precisely what he did. Rozetta’s mother was visibly high and nodding off in the

police car when they rode to the station on January 3, 1987. JA2464, JA2550-2551.

      When they got to the station, Rozetta’s mother went to a separate room with

Defendants for twenty to thirty minutes. JA2467-2468. When Rozetta’s mother and

Defendants reentered the room together, Requer and Pellegrini began questioning

Rozetta. JA2553-2554.

      Rozetta told the detectives that she did not see the shooter and could not

identify the perpetrator. JA2562, JA2590. Defendants had been taking notes during

their interview of Rozetta, see JA 2672, but those were never disclosed. See

generally JA241-245. Defendants presented Rozetta with a photo array, which

included a photograph of Washington. JA2479-2481. Defendants admit they knew

Rozetta was familiar with Washington from living in the neighborhood. See JA59;

JA2745 (describing Washington as a “person known to [Otis and Rozetta]”);

JA2481. They asked Rozetta to select who looked familiar. JA2480-2481, JA2558-




                                        13
2559. She selected Washington’s photo and initialed it. JA2559-2560. Rozetta

never identified Washington as the perpetrator. JA2560.

      Nevertheless, Defendants falsely characterized Rozetta’s identification as

being of the shooter. See JA2744 (Rozetta “positively identified” the photo of Gary

Washington [as the shooter]). At no time did they reveal the true circumstances of

their interrogation, or that they had asked Rozetta only to identify a familiar-

looking person, not the shooter. JA2744; JA2748; JA1980-2094; JA2802.

      Defendants followed up by giving Rozetta a typed statement to sign that

identified Washington as the shooter, even though they knew the statement was

false because Rozetta (i) told them she could not identify the shooter, (ii) had not

described or identified the shooter previously, and (iii) was asked to pick out the

person who was familiar, not who committed the crime. Compare JA2738-2742

with JA2480-2481, JA2562, JA2590.

      Rozetta was nervous. JA2580. Her mother, who was high and had been in

private contact with the detectives, told her to sign it, and so Rozetta did so without

reading it. JA2578-2579. She relied on her mother and also felt she could not

understand some of the words in the statement. JA2578-2579.

      The January 2 statement is Rozetta’s only signed statement. Rozetta has

never stated that she saw Washington shoot Bobo or that she saw the shooting at

all. Before trial when a defense investigator interviewed Rozetta, she disavowed


                                          14
the statement. JA2752, JA2795, JA2800. The State never called her to testify.

JA2795, JA2800.

                     Washington is charged and convicted
       based on false witness testimony and due to suppressed evidence

       Washington was charged and later convicted of Bobo’s murder because of

the false statements from these two vulnerable children, and nothing more.

JA2748; JA2743-2747; JA2802.

      Moreover, the prosecutor undoubtedly relied on Otis and Rozetta’s false

statements to seek the indictment against Washington. Requer’s practice was to

communicate regularly with the prosecutor about evidence being gathered—

including witness statements—prior to arresting a suspect. JA1326-1328. Otis and

Rozetta’s signed (false) statements were in the police file, see JA2018-2022,

JA2024-2028, JA2031-2034, and therefore would have been provided to the

prosecutor before Washington’s arrest and charging. See JA1329-1330. See also

JA1326. Requer and Pellegrini also submitted their Prosecution Report to the

prosecutor, in which they presented their false, fabricated account of what Otis and

Rozetta saw. JA2802; JA1325-1326.

      Defendants also created additional fabrications about Otis. In their

Prosecution Report, they now claimed that Otis saw Washington get out of a car,

call to Bobo, who then approached, after which Washington shot him. JA2802.

This detail conformed Otis’ supposed observations to Rozetta’s. Compare JA2802
                                         15
with JA2398-2402, JA2738-2742. At no time did Defendants tell the prosecutor

that they had fabricated either witness’s account. JA2972-2973, JA2978.

      Before trial, the State filed its discovery disclosures. JA241-242; JA 243-

245. The disclosures stated that the State was unaware of any exculpating or

impeaching evidence. See JA242; JA244. Due to Defendants’ suppression, the

State was unaware, and thus did not disclose, that both Otis and Rozetta told

Defendants that they could not identify the shooter and that their identifications

were products of Defendants’ coercive tactics. If Defendants had relayed these

facts to the prosecution, the prosecutor’s practice was to disclose this type of

evidence to the defense. JA2929-2930, JA2970-2974, JA2976-2978, JA2982.At

Washington’s pre-trial suppression hearing to exclude Otis and Rozetta’s false

identification, Pellegrini did not disclose either’s admissions that they could not

identify the shooter, nor did he disclose Defendants’ role in manufacturing the

accusatory signed statements. See id. JA2782-2798.

                        Washington’s Extensive Damages

      Washington endured more than three decades in prison, during which he lost

his liberty and also contact with his family. He was unable to raise his son, who

was only three years old when Washington was taken away. Washington testified

that his wrongful incarceration was “inhumane”: He was subject to repeated

lockdowns, where he could not leave his cell at all; his cellmates were often

                                          16
unpredictable and suffered from severe mental illness; correctional officers would

scream at him and use violence towards him; he was subject to repeated

shakedowns and strip and cavity searches; and he was isolated from his family and

friends. JA621-627; JA3343-3344 4. Since leaving prison, Washington continues

to suffer from sleep deprivation and has nightmares about the inhumanity of his

wrongful conviction and imprisonment. JA621-622.

                                Procedural History

      On June 16, 1987, Washington was convicted of first-degree murder and use

of a handgun. JA311. He was sentenced to life in prison. JA311.

      On February 24, 1997, Washington filed a Petition for Post-Conviction

Relief, pursuant to Maryland’s Uniform Post-Conviction Procedures Act. JA273.

Washington alleged, inter alia, that his Fourteenth Amendment due process rights

were violated because police investigators coerced the only identification witness,

Otis, to testify falsely. JA273-276.

      The Circuit Court for Baltimore City held hearings on the petition. JA273.

At the hearing, Otis, now an adult, took the stand and admitted that his prior

identification of Washington was false. JA1623-1646. Otis testified that on the

night of the murder, he saw three men standing together but could not identify

them. JA1623-1624. He heard a gunshot, but he did not see who the shooter

was. JA1624-1625. He testified that he and his mother went to the police station,

                                         17
where he told Pellegrini and Fahlteich that he could not identify anyone from the

shooting. JA1626-1628. About the police interrogation, Otis testified in detail

about how Defendants threatened to take him from his mother and intimidated him

into making false statements about and identifications of Washington. JA1629-

1635; Their tactics also included singling out a photograph of Washington.

JA1632.

      On December 10, 1999, Judge Schwait of the Circuit Court for Baltimore

City denied Washington’s petition and did not set aside the conviction. JA282. He

held that Washington did not present sufficient evidence of police coercion and

found Otis’s testimony “incredible.” JA274-276.

       On November 28, 2016, Washington sought a writ of actual innocence

(“WAI”) pursuant to Section 8-301 of the Maryland Criminal Code. JA311. The

Circuit Court for Baltimore City, Judge Peters, held evidentiary hearings. JA311.

Otis again testified, consistently with his 1999 sworn testimony, that he (1) did not

see the shooter and thus, could not truthfully implicate Washington and (2) his

earlier identification, given to the grand jury and criminal trial, were made under

pressure from the police to adopt a false account. JA312-316.

      The court considered Otis’s multiple recantations, including his 1999

testimony and his 2016 testimony. JA312-316. It concluded that Otis “never

wavered in his formal withdrawal or renunciation of [his] prior


                                         18
testimony.’” JA315. It further noted that Otis had recanted his trial testimony “on

at least three occasions,” including when he was approximately 18 to 20 years old,

when he was 24 years old, and most recently when he was 42 years old (for which

he traveled out of state voluntarily). JA315. It reached the “inescapable

conclusion” that “multiple recantations of the uncorroborated testimony by the sole

eyewitness in Petitioner’s case have to create a substantial possibility of a different

result” at Washington’s criminal trial. Id. at JA315-316. The circuit court set aside

Washington’s conviction and granted a new trial “based on the [Otis] Robinson

recantations.” Id. at JA316. (hereinafter, “2016 Order”).

      On September 5, 2019, Washington filed an Amended Complaint alleging

that Defendants Thomas Pelligrini, Oscar Requer, Richard Fahlteich, Fred Ceruti,

John Tewey, John MacGillivary, Baltimore Police Department (“BPD”) and the

Mayor and City Council of Baltimore (collectively “Mayor”) violated his

constitutional and state law rights during their investigation of Faheem Ali’s

homicide and subsequent prosecution of Washington; and that those violations

were undertaken pursuant to the policies and practices of the BPD. JA19-50. Over

Washington’s objection, Washington’s Monell claim was bifurcated. JA3801.

      On September 15, 2022, Pelligrini, Requer, Fahlteich, Ceruti, and Tewey

filed for summary judgment. JA52-92. Washington did not oppose summary

judgment as to Ceruti and Tewey but opposed as to the remaining Officer


                                          19
Defendants. JA428-484. On April 12, 2023, the district court granted summary

judgment. JA3801-3837.




                                      20
                           SUMMARY OF ARGUMENT

      The evidence at summary judgment presented a genuine issue of material

fact that warrants a trial. The district court agreed, but granted Defendants’ motion

nonetheless, largely on the basis of collateral estoppel. In particular, the district

court found that Washington was estopped from arguing that Defendants coerced

Otis into a falsely identifying Washington as the shooter because a 1999 post-

conviction ruling found Otis’s recantation was not credible—notwithstanding a

2016 writ of actual innocence (“WAI”) decision finding the exact opposite and

vacating Washington’s conviction.

      But collateral estoppel does not and cannot apply. First, the elements of

collateral estoppel have not been satisfied: The 1999 ruling has no preclusive effect

once Washington’s conviction was vacated, and is therefore, not a valid and final

order. Nor did the 1999 ruling delineate what issues were actually determined.

Second, collateral estoppel is an equitable doctrine and inequity would result if

Washington was barred from arguing that Otis’s statements and identification were

coerced and fabricated, particularly where a 2016 judge credited Otis’s testimony

on that score.

      Once the district court’s error in applying collateral estoppel is rectified,

Washington’s federal and state law claims clearly survive summary judgment. The

district court’s erroneous collateral estoppel ruling infected all these claims, save


                                           21
Washington’s suppression claim. For that claim, the district court held that

Washington’s evidence was too speculative. But in so ruling, the court not only

overlooked Defendants’ evidence of withholding, but also failed to properly credit

evidence demonstrating that Defendants withheld the coercion they used to obtain

fabricated evidence against Washington.

                                   ARGUMENT

      This Court reviews de novo the district court's grant of summary judgment,

including its collateral estoppel determination. Knibbs v. Momphard, 30 F.4th 200,

213 (4th Cir. 2022); Gray v. Farley, 13 F.3d 142, 145 (4th Cir. 1993).

I.    COLLATERAL ESTOPPEL DOES NOT BAR WASHINGTON’S
      §1983 CLAIMS.

      At summary judgment, the district court erroneously held that Washington

was collaterally estopped by Judge Schwait’s 1999 Order from asserting claims

under § 1983 that relied on proving Otis’s police statement was false and coerced.

The district court bound Washington to Judge Schwait’s credibility

determination—upon which Judge Schwait affirmed the validity of Washington’s

conviction—even though a different court later found that Otis’s recantations

required that same conviction be set aside and a new trial granted. That error

infected the court’s entire opinion and led to the improper grant of summary

judgment on Washington’s fabrication, conspiracy, and malicious prosecution

claims. The district court’s unwarranted application of collateral estoppel runs
                                          22
contrary to the overwhelming weight of authority and violates the equitable

principles underlying this doctrine. Once that legal error is untangled, it is clear

that Washington is not precluded from bringing his civil claims.

             A. Applicable Legal Standard and Summary of the Argument.

      Under the Full Faith and Credit Act, 28 U.S.C. § 1738, federal courts

are required to “give preclusive effect to state-court judgments whenever the

courts of the State from which the judgments emerged would do so.” Migra v.

Warren City Sch. Dist. Bd. of Educ., 465 U.S. 75, 81 (1984). The question is thus

whether Maryland courts would give preclusive effect to the 1999 Order despite a

subsequent order, from the same court, reversing the earlier order and setting aside

the conviction on which the 1999 Order was based. The answer is no.

      Maryland law requires the following elements to be met to invoke collateral

estoppel: “(1) the issue sought to be precluded is identical to one previously

litigated; (2) the issue must have been actually determined in the prior proceeding;

(3) determination of the issue must have been a critical and necessary part of the

decision in the prior proceeding; (4) the prior judgment must be final and valid;

and (5) the party against whom estoppel is asserted must have had a full and fair

opportunity to litigate the issue in the previous forum.” Campbell v. Lake Hallowell

Homeowners Ass’n, 852 A.2d 1029, 1037-38 (Md. Ct. Spec. App. 2004).




                                          23
      Even if the technical elements of estoppel are met, moreover, it cannot be

applied to produce an inequitable result. At its core, collateral estoppel is an

equitable doctrine designed to promote efficiency and consistency among judicial

decisions from different courts. See Richman v. FWB Bank, 712 A.2d 41, 59 (Md.

Ct. Spec. App. 1998), aff'd, 354 Md. 472, 731 A.2d 916 (1999). Its function is to

“avoid the expense and vexation attending multiple lawsuits, conserve[] judicial

resources, and foster[] reliance on judicial action by minimizing the possibilities of

inconsistent decisions.” Id. Ultimately, courts must weigh the fairness to the party

against whom collateral estoppel is applied. Swentek v. USAIR, Inc., 830 F.2d 552,

563 (4th Cir. 1987).

      The district court’s collateral estoppel analysis erred in several respects, any

one of which supports reversal on appeal.

      First, the 1999 Order does not meet the elements of collateral estoppel

because it is no longer a valid and final order. Federal courts routinely reject

collateral estoppel where, as here, the underlying criminal conviction has been

vacated. The 2016 Order set aside Washington’s conviction on actual innocence

grounds and ordered a new trial at which Otis’s full account could be heard. Upon

the issuance of this new decision, prior orders tethered to Washington’s criminal

conviction – including the 1999 Order affirmance of that conviction – are no

longer valid and lack preclusive effect. No other result makes sense: the 1999


                                          24
Order and the 2016 Order ordered exactly opposite relief, with the former

affirming a conviction while the latter decision vacating that same conviction. It

defies logic and offends the judicial principle of avoiding inconsistent judgments

for both orders to remain valid and final.

      Second the 1999 Order is at best ambiguous on which factual issues it

“actually determined.” A reviewing court cannot properly attach estoppel to any

particular factual finding from that Order, let alone conclude that there is sufficient

identity between those issues and the issues in a subsequent proceeding. Thus, the

second element of collateral estoppel cannot be met.

      Third, equitable considerations demand reversal of the district court order.

Most notably, newly discovered evidence undermines Judge Schwait’s ruling,

presents a compelling case of innocence, and caused the state court to order a new

trial. Given this new evidence, binding Washington to a now-discredited order and

barring him from seeking relief for his constitutional violations would be grossly

unjust.

      Taking a step back, the federal courts must give Judge Schwait’s Order the

same treatment that another Maryland court would afford it. This Court need look

no further than Washington’s 2016 Order to find that the Maryland courts did not

consider themselves bound by a lone credibility finding, issued seventeen years




                                          25
earlier and without the benefit of credible new evidence of innocence; the federal

courts should not, either.

             B. Judge Schwait’s 1999 Order Is Not Valid and Final.

                 1. Vacated Criminal Convictions, and the Orders Intertwined
                    With Those Convictions, Do Not Have Preclusive Effect.

      To begin, Judge Schwait’s 1999 order no longer has the force of a valid and

final judgment because the conviction it upheld was invalidated. See, e.g., Gilliam

v. Sealey, 932 F.3d 216 (4th Cir. 2019) (rejecting estoppel in §1983 suit after

conviction was vacated, where criminal defendants presented new evidence post-

judgment and where conviction was allegedly procured through fraud or other

improper means); Evans v. Katalinic, 445 F.3d 953, 955-56 (7th Cir. 2006)

(estoppel unavailable in §1983 suit because, among other reasons, convictions

vacated upon discovery of new evidence).

      It is “hornbook” law that a vacated judgment has no preclusive effect for

purposes of collateral estoppel. See Korczak v. Sedeman, 427 F.3d 419, 422 (7th

Cir. 2005) (Illinois law); No E.-W. Highway Comm., Inc. v. Chandler, 767 F.2d 21,

24 (1st Cir. 1985); Zeneca Ltd. v. Novopharm Ltd., 919 F. Supp. 193, 196 (D. Md.

1996) (“As a general rule, a vacated judgment and the factual findings underlying

it have no preclusive effect; the judgment is a legal nullity.”). See also Brisco v.

Stinar, No. 19-CV-7233, 2020 WL 7027719, at *8 (N.D. Ill. Nov. 30, 2020)


                                          26
(collecting cases and stating that “federal appellate courts around the country

recognize that a vacated judgment has no preclusive effect for purposes of

collateral estoppel.”); 18A Charles Alan Wright, Arthur R. Miller & Edward H.

Cooper, Federal Practice and Procedure § 4432 (3d ed.) (“There is no preclusion as

to the matters vacated or reversed.”).

          In the criminal context, federal courts consistently hold that once a

conviction has been vacated, it has no preclusive effect and cannot bar federal

constitutional challenges to a wrongful conviction. See, e.g., Stone v. Williams, 970

F.2d 1043, 1054 (2d Cir. 1992) (“A judgment vacated or set aside has no preclusive

effect.”); Jackson v. Coalter, 337 F.3d 74, 85 (1st Cir. 2003) (same); Aguillard v.

McGowen, 207 F.3d 226, 229, 231 (5th Cir. 2000); Dodrill v. Ludt, 764 F.2d 442,

444 (6th Cir. 1985); Mills v. City of Covina, 921 F.3d 1161, 1170 & n.2 (9th Cir.

2019); Tillman v. Orange County, 519 F. App’x 632, 637-38 (11th Cir. 2013) As an

initial matter, therefore, Washington’s vacated conviction is no bar to the present

suit. 2



2
  It makes little sense to bind criminal defendants to factual findings about a
conviction that has since been rendered a legal nullity. See United States v.
Williams, 904 F.2d 7, 8 (7th Cir. 1990) (when a conviction is vacated, “the effect is
to nullify the judgment entirely and place the parties in the position of no trial
having taken place at all; thus a vacated judgment is of no further force or effect”).
See also United States v. Ayres, 76 U.S. 608, 610 (1869) (vacated conviction is a
legal nullity); Woods by & through Wade v. City of Reno, Nevada, 2018 WL
493015, at *10 (D. Nev. Jan. 18, 2018) (same).
                                             27
      Not only does the vacated criminal judgment lose any preclusive effect, but

so, too, do the judicial decisions arising out of and based on that conviction. E.g.,

Bermudez v. City of New York, 790 F.3d 368, 374 (2d Cir. 2015) (plaintiff not

collaterally estopped from arguing witnesses were coerced, even though their

testimony was found “not credible” in a prior federal habeas proceeding, where

conviction was subsequently vacated on a state motion for new trial); Peterson v.

Heymes, 931 F.3d 546, 554-55 (6th Cir. 2019) (decisions “merged with” vacated

conviction do not collaterally estop §1983 claims arising out of conviction); Evans,

445 F.3d at 955-56 (concluding that because the plaintiff’s criminal convictions

were vacated and his criminal record expunged, there is nothing left on which

preclusion could be based); O’Connell v. Alejo, No. 18-CV-01359-RBJ, 2020 WL

1244852, at * 4 (D. Colo. March 16, 2020) vacatur overturned not only the

judgment of guilt but also the interlocutory decisions preceding it).

      In Peterson v. Heymes, for example, the Sixth Circuit held that a pre-trial

suppression ruling allowing the plaintiff’s confession to be admitted at the criminal

trial did not collaterally estop the plaintiff from bringing a §1983 civil suit

challenging the voluntariness of that confession once the conviction had been

vacated. 931 F.3d at 554-55. The criminal court’s interlocutory rulings merged with

the final judgment, which means those interlocutory rulings had been vacated too.

Id. at 554.


                                           28
      This rule is not limited to pretrial rulings but applies with equal force to

post-conviction reviews of the conviction. See Glenn v. City of Hammond, 2021

WL 4078063, at *7-9 (N.D. Ind. Sep. 7, 2021) (federal courts have “declined to

give preclusive effect to collateral proceedings that were based on subsequently

vacated criminal convictions”); Bermudez, 790 F.3d at 374 (no preclusive effect to

adverse post-conviction habeas findings once conviction was subsequently

vacated); Schand v. McMahon, 487 F. Supp. 3d 71, 78 (D. Mass. 2020) (post-

conviction ruling lost preclusive effect after conviction vacated). Practically

speaking, “the decisions in the collateral proceedings were necessarily based on the

factual and legal decisions in the criminal cases being collaterally challenged.”

Glenn, 2021 WL 4078063, at *7-9.

                 2. The District Court Erred In Finding That The 1999 Order
                    Was Exempted From the General Rule Rejecting Collateral
                    Estoppel In These Circumstances.

      The district court accepted the principle that collateral estoppel cannot apply

to rulings made in the criminal proceeding. JA03658-03659 (“I completely agree

with you with respect to the criminal proceeding.”). Nevertheless, and

notwithstanding the weight of authority to the contrary, the district court

erroneously held that the 1999 Order could not be “affected by what happened in

the criminal proceeding” because it was issued in a “separate proceeding”—

namely, Washington’s post-conviction petition. JA03658-03659; JA03825-03826.


                                          29
The district court reasoned that vacation of the conviction “did not alter the validity

or finality of [the 1999 Order] denying post-conviction relief, or the factual

determinations he made therein.” JA03825-03826. In other words, the district court

construed the 1999 Order as still valid and final even though the criminal

conviction it upheld was itself no longer valid and final. The court thus concluded

that collateral estoppel barred Washington’s core constitutional claims.

      In finding Washington’s civil claims collaterally estopped, the district court

fundamentally misunderstood the nature of Washington’s post-conviction petition.

The 1999 Order was issued in a state post-conviction proceeding brought under the

Uniform Postconviction Procedure Act (“UPPA”). Md. Code Ann., Crim. Proc. §7-

101 et seq. The express purpose of this provision was to allow convicted persons to

challenge an unconstitutional judgment or sentence. Id. at § 7-102. Section 7

permitted the same types of collateral challenges “that would otherwise be

available under a writ of habeas corpus, writ of coram nobis, or other common law

or statutory remedy.” Id. at (a)(1)-(4). In other words, the UPPA is simply one

pathway for attacking the validity of a conviction—no different from other forms

of postconviction review, such as writs of actual innocence, that enabled convicted

persons to attack an extant criminal conviction. Compare Md. Code Ann., Crim.

Proc. §8-301 et seq. The remedy under Section 7 is, thus, solely about the

conviction, i.e., “to set aside or correct the judgment or sentence.” Id. at (b)(1).


                                           30
      The district court misunderstood this relationship, believing incorrectly that

the “post-conviction proceeding does not suspend the underlying conviction’s

finality.” JA03825. That is wrong: the only function of the post-conviction

proceeding is to set aside or affirm the conviction; there is no other purpose to it.

      While post-conviction proceedings are indeed collateral, they are predicated

on, and inextricably intertwined with, the underlying criminal convictions they

seek to challenge. And when the conviction is vacated, they lose their preclusive

effect, just as pre-vacatur orders tied to the criminal judgment do. See Glenn, 2021

WL 4078063, at *7-9 (N.D.Ind. Sep. 7, 2021). That the 1999 Order was issued in a

collateral proceeding, as opposed to a direct appeal, is irrelevant. See Bermudez,

790 F.3d at 374 (federal habeas findings were not preclusive where conviction was

subsequently vacated).

      It is particularly untenable to treat the 1999 Order as a presently “valid and

final” order given that it has effectively been reversed by the Circuit Court of

Baltimore. Judge Schwait affirmed Washington’s conviction and rejected the claim

that it should be set aside, even though the only witness to implicate Washington at

trial had recanted. Seventeen years later and with new evidence available, Judge

Peters reversed the same conviction and accepted the claim that it should be set

aside, because the only witness to implicate Washington at trial had recanted. To do

so, Judge Peters found that Otis’ “multiple recantations” (which included Otis’


                                          31
1999 post-conviction testimony that Judge Schwait dubbed “incredible”) had

“create[d] a substantial possibility” that Washington would have had a different

result at his criminal trial. JA00315-00316. In other words, these two rulings

ordered diametrically opposite relief. The later order governed, and Washington’s

conviction was set aside. Amid those facts, the earlier order simply cannot be

construed as “valid and final.” A contrary ruling would flout the basic purpose of

collateral estoppel to avoid inconsistent judgments.

      Federal accrual law – which shares many of the equitable considerations

underpinning the collateral estoppel doctrine –underscores the conclusion that

Washington’s post-conviction decision was functionally part of the underlying

criminal proceeding and lost any preclusive effect once his conviction was vacated.

Like with collateral estoppel, accrual law seeks to avoid inconsistent judgments,

including between state and federal courts. Heck v. Humphrey, 512 U.S. 477, 484

(1994); Morgan v. Schott, 914 F.3d 1115, 1120 (7th Cir. 2019) (noting that “the

Heck rule is a version of issue preclusion”). There can be no §1983 judgment that

conflicts with an extant state-court conviction. Id. Conversely, an invalidated state

judgment cannot bar a federal claim, either under collateral estoppel or as a matter

of accrual. See Gilliam, 932 F.3d at 242 n. 9. For that reason, the Fourth Circuit has

“question[ed] whether a state’s collateral estoppel doctrine can require a federal

court to afford preclusive effects to an invalid state judgment in a federal §1983


                                         32
case. Such an outcome would conflict with the Supreme Court’s holding in Heck v.

Humphrey, which specifically permits a plaintiff to proceed with a § 1983 action

when a conviction has been reversed, expunged, or declared invalid…” Id. Civil

claims do not accrue, therefore, unless and until the conviction is vacated. Id. 3

      Importantly, Heck and progeny do not differentiate between the various

procedural mechanisms by which a conviction is vacated. A direct appeal,

collateral state attack, federal habeas, or even executive pardon are functionally

indistinguishable. See Heck, 512 U.S. at 485. All exist to review a criminal

conviction. Even the ensuing §1983 suit is considered part of “a single

controversy” with the preceding judgments from the criminal proceeding. See


3
  Section 1983 was enacted to provide a remedy for individuals whose federal
constitutional rights were deprived by state officials. Allen v. McCurry, 449 U.S.
90, 98-99 (1980). A principal purpose is to permit challenges to state-court
criminal proceedings in which state actors violate federal constitutional rights.
Mitchum v. Foster, 407 U.S. 225, 240 (1972). The district court’s ruling thwarts
this purpose by imposing a bar on Washington’s claims, even though the
conviction that the purportedly preclusive order was reviewing has been vacated
and rendered a nullity. It is particularly inscrutable that Washington’s conviction
has been vacated based on Otis’s recantation–an event that allows Washington to
pursue § 1983 claims under Heck–but the district court has nevertheless bound
Washington to an earlier ruling finding that this same evidence (Otis’s recantation)
is incredible.
       Indeed, this district court’s ruling runs afoul of Heck itself to the extent it
treats as “valid and final” a state-court order affirming a conviction that has since
been vacated; as noted above, Heck made no distinction among the types of post-
conviction proceedings that could set aside the conviction sufficiently to trigger
accrual of the §1983, so once that conviction has been vacated, prior state-court
rulings going the other way cannot be considered valid and risk absurd
inconsistencies on accrual.
                                          33
Griffin v. Baltimore Police Dep’t, 804 F.3d 692, 694 (4th Cir. 2015) (“If a §1983

plaintiff could win damages premised on the wrongfulness of a still-valid

conviction, there would be two conflicting resolutions of a single controversy.

Heck, 512 U.S. at 484. [I]t would be best not to have law at odds with itself.”). In

short, Heck rejects the notion animating the district court’s reasoning that

Washington’s post-conviction decision was functionally part of a different

proceeding than both the WAI proceeding and the underlying criminal proceeding.

      Numerous courts have declined to invoke collateral estoppel for post-

conviction rulings reviewing now-vacated judgments. See Bermudez, 790 F.3d at

374; Donald v. Outlaw, 2023 WL 2346270, at *18 (N.D. Ind. Mar. 3, 2023)

(collateral estoppel did not attach to a 1998 opinion affirming the denial of a post-

conviction petition, and § 1983 litigation on the same issue was not precluded,

because conviction was subsequently vacated); Siggers v. Alex, 2021 WL 4391170,

at *4-6 (E.D.Mich. Sep. 24, 2021), aff’d in part, rev’d in part and remanded, 2023

WL 5986603 (6th Cir. Sep. 12, 2023); Glenn, 2021 WL 4078063, at *7-9; Schand,

487 F. Supp. 3d at 78; Dukes v. City of Albany, 289 F. Supp. 3d 387, 392-94

(N.D.N.Y. 2018) (collateral estoppel did not attach to state appellate and federal

habeas decisions after underlying conviction was vacated).

      Siggers presents similar facts and is instructive. There, the plaintiff sought

civil redress for a lengthy wrongful conviction. After years of unsuccessful state


                                          34
and federal court post-conviction motions, in 2018, the state court agreed to vacate

Siggers’ conviction based on newly discovered evidence. 2021 WL 4391170, at *5.

In his §1983 suit, Siggers brought claims for fabrication of evidence and failure to

disclose material exculpatory evidence. Defendants sought to bar Siggers’ claims

under Michigan’s collateral estoppel doctrine, arguing that the post-judgment state

court rulings remained intact even though the underlying conviction had been

vacated. The court rejected this argument. Id. As here, defendant cited “no

authority to support his novel argument that following vacation of a judgment, only

the judgment and the pre-judgment rulings lose their preclusive effect.” Id. As a

practical matter, the court found no adequate reason why “post-judgment rulings

based upon a now-vacated criminal judgment should continue to retain preclusive

effect….” Id. See also Siggers, 2023 WL 5986603 at 6 (concurring, J.) (urging

majority that jurisdiction existed to address the collateral estoppel defense and

noting, “I would also adopt a similar analysis as the district court and hold that

such a defense fails under these circumstances”).

      Neither the district court nor Defendants identified any precedent in which

collateral estoppel was invoked in similar circumstances. Instead, the district court

relied on a single sentence from a 1966 Maryland case to support its reasoning.

And a review of that case makes clear that the court’s reliance was in error. See

JA03825. In Waller v. Dir., Patuxetnt Inst., 244 Md. 229, 232 (1966), the appellate


                                          35
court affirmed the denial of a post-conviction petition. One error it alleged was the

composition of the grand jury. Id. Maryland law, however, required grand jury

challenges be brought before a conviction became final, not retroactively. Id. The

appellate court noted that the defendant’s conviction was already final because the

direct appeal had concluded, so defendant’s challenge came too late. Id. In this

context, the court noted that mere filing of a post-conviction proceeding, which is

collateral, does not “suspend[] the finality of the conviction” for purposes of

retroactively making a grand jury challenge timely. Id. at 232.

      The District Court stretched Waller’s straight-forward dicta to mean that if a

criminal conviction got vacated by a later post-conviction proceeding, an earlier

post-conviction proceeding nevertheless remains intact. JA03825. Waller, however,

provides no support for that. All Waller held was that filing a post-conviction

petition does not work as a stay, or suspension, of the finality of the original

criminal conviction—a proposition that is hardly controversial. This was in the

context of rejecting an effort to recast a post-conviction filing as a pre-conviction

one for timing purposes. Waller does not say that if the post-conviction petition

were granted, the underlying criminal conviction would remain final.

      Neither does Calhoun-El v. State of Maryland, the other authority relied on

below, require or even speak to collateral estoppel. Calhoun-El v. State, 2020 WL

2991786, at *14 (Md. Ct. Spec. App. June 4, 2020). Calhoun-El simply holds that


                                          36
post-conviction petitions are collateral attacks on the underlying criminal

conviction. Id. This uncontroversial premise is immaterial. As explained above,

collateral attacks are inextricably intertwined with the underlying criminal

judgment they challenge, are functionally part of the criminal proceeding, and

cannot bar future relitigation once the conviction is set aside—just as happened in

Washington’s case.

                3. The 1999 Order Cannot Be Considered Valid and Final
                   After the 2016 Order.

      For collateral estoppel, the federal court makes a determination about

whether the state court would give preclusive effect to a prior state court judgment.

While ordinarily the courts must predict what a state court would do, here no such

prediction need be made: the 2016 order did not find itself estopped, despite the

State’s express effort to invoke estoppel. JA00373-00374. Indeed, there is no

suggestion whatsoever in the 2016 order, nor in the record, that the Maryland

courts intended for the 1999 Order to estop relitigation of the same factual

findings. See JA00311-00316.

      If estoppel applied, then the WAI Court would have been bound to Judge

Schwait’s factual determinations, but clearly that was not the case. To the contrary,

the WAI Court made an opposite factual finding: that Otis’s recantations to the

post-conviction investigator, in the 1999 testimony (that which Judge Schwait


                                         37
dubbed “incredible”), and the 2016 testimony created “a substantial possibility”

that Washington would have been acquitted. JA00315-00316.

      The district court attempted to reconcile these two rulings and found them

not necessarily in conflict because the latter order did not use the words

“coercion,” “credibility,” or “fabrication,” so, according to the district court, Judge

Schwait’s earlier credibility finding must have been left intact. But the only way

Judge Peters could grant a new trial was to find Otis’s recantations were “material

and persuasive.” JA00371, citing Campbell v. State, 373 Md. 637, 666 (2003)

(necessary element for WAI). At the post-conviction hearing, Otis testified not only

about police coercion but also about the fact that he did not see Washington

commit the shooting.

      Robinson recanted three times, and it was the totality of those three

consistent, unwavering recantations that warranted a new trial. Judge Peters

expressly considered among those recantations the 1999 post-conviction testimony

that Judge Schwait had deemed unreliable. Had the earlier finding enjoyed

preclusive effect, however, Judge Peters could not have found “material and

persuasive” that which Judge Schwait found “incredible.” The fact that the WAI

Court did not use the same words does not alter the fact that it made factual

findings inconsistent with Judge Schwait’s earlier factual findings, thus evidencing

that the Maryland courts did not intend for estoppel to attach. See Shader v.


                                          38
Hampton Imp. Ass’n, Inc. 443 Md. 148, 161 (2015) (“determination of ultimate

fact underlying the judgment in a previous proceeding is the gravamen of the

doctrine” such that when collateral estoppel is applied, “factual issues resolved in

the adjudication of one claim are binding for purposes of subsequent adjudication

of another claim”).

      The Maryland court did not find estoppel, thus the federal court’s prediction

of what the state courts would do has been resolved. Collateral estoppel did not

apply in state court after Washington’s conviction was vacated, and it should not

apply here.

              C. The 1999 Order Was Cursory and Ambiguous As To Its
                 Factual Findings, Such That The “Actually Determined”
                 Element Cannot Be Met.

      Only issues that are “actually determined” in the prior proceeding are

precluded from being relitigated in a subsequent proceeding. Campbell, 852 A.2d

at 1037-38. The 1999 Order fails to identity what factual issues were actually

decided. Specifically, the circuit court failed to identify which facts about Otis it

rejected as “incredible”—whether it was the fact that he did not see the shooter

sufficiently to make an identification, or that police coerced him, or perhaps both.

It may have been, as the district court implied, a broader finding that Otis himself




                                          39
was an unreliable witness. JA03823-03825. 4 The circuit court summarily found

that Robinson’s recantation was “incredible” and did not constitute proof of

coercion. JA002475-00276. Estoppel cannot attach to such ambiguous

determinations. Cf. Ufheil Const. Co. v. Town of New Windsor, 478 F. Supp. 766,

769 (S.D.N.Y. 1979), aff'd sub nom. Ufheil Constr. Co. v. Town of New Windsor,

636 F.2d 1204 (2d Cir. 1980) (ambiguous order prevented court from finding

identify of issues).

      The district court’s reasoning exposes the difficulty with attaching

preclusion to such an ambiguous order. In trying to square Judge Schwait’s ruling

with Judge Peters’ facially contradictory findings, the court was forced to speculate

about what Judge Schwait did and did not find. The district court suggested that

Robinson may have voluntarily lied when identifying Washington (or did so at his

mother’s instruction, a speculation for which there is no support in the record) or

“simply changed his mind about what he believed he saw.” JA03824. Were that

true, Judge Schwait’s coercion ruling would remain intact, and Judge Peters could

still grant a new trial. See JA03824 (“Judge Peters did not reverse that adverse



4
  These ambiguities also impede any conclusion that a particular finding was “a
critical and necessary part of the decision.”, 852 A.2d at 1037; In re Microsoft
Corp. Antitrust Litig., 355 F.3d 322, 327 (4th Cir. 2004) (only those facts “critical
and necessary” had preclusive effect, and thus, district court foreclosing
relitigation of any fact supportive of the prior judgment was “too broad to assure
fairness in the application of the doctrine”).
                                          40
credibility findings.”). But an equally plausible reading is that the court determined

as “false” Robinson’s claim not to have seen the shooter. If true, the WAI Court

would have been bound to that and could not have found that same evidence

“material and persuasive.” The 1999 Order’s failure to identify which facts were

“actually determined” forecloses collateral estoppel.

             D. Applying Collateral Estoppel In This Case Is Inequitable.

      In addition to not satisfying the elements of estoppel, the 1990 Order cannot

be given preclusive effect because it would be inequitable to do so. Collateral

estoppel is an equitable doctrine animated by principles of efficiency and fairness.

Swentek, 830 F.2d at 563; Brown v. City of Chicago, 599 F.3d 772, 776 (7th Cir.

2010) (doctrine of collateral estoppel does not apply if it results in an injustice).

See also Garrity v. Maryland State Bd. of Plumbing, 447 Md. 359, 382 (2016).

Neither fairness nor equity can countenance binding Washington to a false

identification (Otis’s) that was procured through misconduct and which has now

been thoroughly and repeatedly recanted—and never corroborated. See Gilliam,

932 F.3d at 232 (no collateral estoppel where convictions obtained improperly);

Bermudez, 790 F.3d at 374 (plaintiff not collaterally estopped from arguing that

witnesses were coerced even though federal habeas court found their testimony

“not credible” because “applying issue preclusion would be inequitable”).




                                           41
      Additional new evidence that did not exist in 1999 entirely undercuts the

post-conviction factual finding that Otis’ recantation was “incredible.” Otis

testified under oath at the 2016 WAI hearing, again insisting that he had neither

seen Washington commit the shooting nor told police otherwise until they began

exerting pressure on him to adopt a false identification. There were now “multiple

recantations of the uncorroborated testimony by the sole eyewitness in Petitioner’s

case.” JA0031-00316. Otis has since given a third sworn statement, this time at a

lengthy civil deposition in which he recanted his false identification and explained

the coercive police tactics he experienced. JA01702-01735.

      In addition, another crucial piece of new evidence exists now that would

render it grossly unfair to bind Washington to Judge Schwait’s decades-old ruling:

Rozetta Dorsey’s 2022 deposition. Rozetta’s sworn testimony provides crucial

corroboration of Otis’ recantation: both had similar experiences of being pressured

and fed information by the police and testified that their initial identifications of

Washington were false. With evidence from Rozetta corroborating Otis’ account,

the recantation testimony was far less likely to be dismissed as “incredible.”

      New testimony from Robinson and Dorsey significantly discredits Judge

Schwait’s two-decades old credibility determination and presents strong evidence

that the police officers investigating the homicide manufactured the only evidence

of guilt. It would be grossly inequitable for Washington to be barred, based on


                                           42
now-discredited factual findings, from pursing relief under §1983 for his three

decades of wrongful incarceration. See Evans, 445 F.3d at 956 (estoppel

inequitable where prosecution witness testified about coercive police tactics and

provided additional new evidence of the defendants’ activities). Cf. Montana v.

United States, 440 U.S. 147, 164 n.11 (1979) (“[r]edetermination of issues is

warranted if there is reason to doubt the quality, extensiveness, or fairness of

procedures followed in prior litigation”); Morgan v. Morgan, 68 Md. App. 85, 94

(1986) (finality appropriate where “no good reason” to relitigate the issue) (internal

citations omitted). 5

II.      WASHINGTON’S FABRICATION CLAIM SHOULD BE TRIED BY A
         JURY.

      Washington’s fabrication claim relies on two pieces of evidence: Otis’s and

Rozetta’s fabricated statements and identifications. In dismissing this claim, the

district court made two fundamental errors: first, the district court applied its

erroneous finding that collateral estoppel applied to bar any reliance on Otis’s


5
  Attaching collateral estoppel to a post-conviction ruling even after the conviction
is vacated could produce absurd results. Cf. Dodrill, 764 F.2d at 444 (considering
the practical problems created if estoppel applied). For instance, if Washington had
been criminally re-tried after his conviction was vacated, attaching preclusive
effect to Judge Schwait’s credibility determination could arguably preclude
Washington from introducing Robinson’s recantation, or bar him from explaining
that Robinson’s initial police station had been coerced—outcomes that offend basic
due process requirements.


                                           43
recantations and deposition testimony in this case. Second, the district court

applied the wrong legal standard for fabrication, requiring that it be introduced at

trial in order to be actionable—contrary to well-settled law. When those errors are

rectified, it is clear that the fabrication of Otis’ and Rozetta’s pretrial statements

and identifications should be tried by a jury.

          A. The District Court’s Error in Precluding Washington from
             Challenging Otis’s Statements and Identifications Warrants
             Reversal.

      It is beyond dispute that fabricated evidence has no place in a criminal

proceeding. See Washington v. Wilmore, 407 F.3d 274, 283-84 (4th Cir. 2005). To

prove a fabrication claim, a plaintiff must show that (1) defendants fabricated

evidence, and (2) the fabrication resulted in a deprivation of plaintiff’s liberty. Id.

at 282; see also Martin v. Conner, 882 F. Supp. 2d 820, 847 (D. Md. 2012).

      The district court agreed that Washington had met this standard; he

“introduced evidence, namely Robinson’s [multiple recantations], that his

identifications of Washington as the shooter in his police statements and sworn

testimony were fabricated and coerced by the Officer Defendants.” JA03822; see

also Wilmore, 407 F.3d at 282 (fabrication where police falsely reported that

witness divulged non-public information); Shipley v. Disney, No. CV SAG-21-

3173, 2022 WL 2789076, at *6 (D. Md. July 15, 2022) (fabrication where officer

created a report that falsely alleged that the eyewitness description of the suspect


                                           44
“closely matched” the suspect in a separate homicide when it did not); Howard v.

Dowdy, No. 1:17-CV-477, 2022 WL 1720156, at *4 (M.D.N.C. May 27, 2022),

aff’d sub nom. Howard v. City of Durham, 68 F.4th 934 (4th Cir. 2023) (sufficient

evidence of fabrication of witness statement where witness testified she did not

know anything about the crime until defendant-detective fed her information).

      The district court nonetheless granted summary judgment on Washington’s

theory of fabrication because the court found that collateral estoppel barred

Washington from challenging Otis’ signed statement and identification. As

described above, supra Section I, that finding was erroneous, and because it was

erroneous, so too was the Court’s determination that Washington’s fabrication

claim was not cognizable. Instead, as the court conceded, if collateral estoppel does

not apply, then Defendants’ fabrication of Otis’ statement and identification

“present[s] a quintessential issue of fact for the factfinder . . . .” JA03822.

Dismissal of the fabrication claim, therefore, should be reversed.

          B. The District Court Erred in Finding Rozetta’s Fabrication
             Immaterial.

      Collateral estoppel also infected the district court’s ruling on Washington’s

fabrication theory relating to Rozetta. In its summary judgment opinion, the district

court found that Washington could not show that Rozetta’s fabricated statement

deprived Washington of liberty for two reasons: first, because Otis’s signed police

statement, which Washington was estopped from challenging, provided probable
                                           45
cause; and second because Rozetta’s statement was not introduced at trial. Both

findings by the Court are erroneous.

                  1. When Otis’s statement is properly considered, there was
                     no probable cause.

      To start, the district court found that any fabrication of Rozetta’s statement

did not affect Washington’s probable cause because Otis had already implicated

Washington, and Washington was barred from challenging Otis’s police statement

as fabricated JA03827. As described more fully above, the district court’s collateral

estoppel ruling is wrong.

      Once Otis’s statement and identification are considered fabricated—for

purposes of summary judgment—then the district court’s ruling falls apart. After

all, the only basis for probable cause was Otis’s and Rozetta’s fabricated

identifications. JA01551-01552; JA01153-01155. But “fabricated evidence cannot

serve as the basis for probable cause.” Estate of Bryant v. Baltimore Police Dep’t,

No. CV ELH-19-384, 2020 WL 673571, at *25 (D. Md. Feb. 10, 2020); see

Manuel v. City of Joliet, 580 U.S. 357, 367 (2017); Miller v. Prince George’s Cty.,

475 F.3d 621, 632 (4th Cir. 2007). If Otis’s statement and identification are

stripped away as fabricated, then all that is left is Rozetta—and her statement and

identification are fabricated, too. There is nothing on which to base charges against

Washington. See Humbert v. Mayor & City Council of Baltimore City, 866 F.3d

546, 556 (4th Cir. 2017), as amended (Aug. 22, 2017) (“To determine materiality,
                                         46
the Court must excise the offending inaccuracies and insert the facts recklessly

omitted, and then determine whether or not the corrected warrant affidavit would

establish probable cause.”) (internal quotations omitted). Stated differently,

Rozetta’s fabricated statement caused Washington’s loss of liberty because

probable cause for Washington’s arrest did not exist independent of the

fabrications. See Miller, 475 F.3d 621, 628 (4th Cir. 2007) (holding that civil

liability against an officer could be found because the warrant, once excised of

fabricated information, did not establish probable cause.).

                  2. Rozetta’s statement did not have to be introduced at trial
                     to deprive Washington of his liberty.

      Alternatively, the district court found that Washington could not satisfy the

causation prong of a fabrication claim because Rozetta’s “statement played no role

once the charges against Washington were brought . . . JA03828. That finding runs

afoul of well-settled law.

      Contrary to the district court’s opinion, fabricated evidence need not be

introduced at trial to be actionable. See Burgess v. Baltimore Police Dep’t, No. CV

RDB-15-0834, 2017 WL 4947004, at *16 (D. Md. Oct. 31, 2017) (finding

“causation under Washington” satisfied where police fabricated report hiding the

existence of an eyewitness notwithstanding the fact that the report was not

introduced at trial). “[T]he relevant question is not whether the fabricated evidence


                                          47
was shown to the jury; it is whether the statement affected the decision of the jury.”

Jackson v. City of Cleveland, 925 F.3d 793, 816 (6th Cir. 2019); see also Whitlock

v. Brueggemann, 682 F.3d 567, 580 (7th Cir. 2012) (“[A] police officer who

manufactures false evidence against a criminal defendant violates due process if

that evidence is later used to deprive the defendant of her liberty in some

way.”).“And fabricated evidence that ‘is used as [the] basis for a criminal charge’

can form the basis for a § 1983 claim because, absent that evidence, there would

have been no jury.” Jackson, 925 F.3d at 816 (quoting Halsey v. Pfeiffer, 750 F.3d

273, 294 n.19 (3d Cir. 2014)).

      Rozetta’s statement and identification were critical for probable cause—i.e.,

the “basis for [the] criminal charge.” Jackson, 925 F.3d at 816. Washington was

indicted and placed into custody because of Rozetta’s fabricated identification, not

just Otis’s. JA02748; JA02057-02061; JA01551-01552; JA01153-01155. That is

sufficient for fabrication. It is particularly true because had Washington known

about the fabrication of Rozetta’s statement and the circumstances surrounding it,

Washington could have corroborated Otis and attacked the honesty of the

investigation. See, e.g., Long v. Hooks, 972 F.3d 442, 485 (4th Cir. 2020), as

amended (Aug. 26, 2020) (“The officers’ dishonesty would undermine the integrity

of the investigation.”); Barnett v. Cabell County Comm’n, No. CV 3:22-0203, 2023

WL 2602509, at *9 (S.D.W. Va. March 22, 2023)


                                         48
      Moreover, when evaluating causation—that is, whether Rozetta’s fabrication

caused Washington to lose his liberty, and whether it was reasonably foreseeable

that he would—courts are instructed to take all the fabricated evidence together

collectively. Although the district court referred to Washington’s

“coercion/evidence fabrication claims,” “his allegations do not give rise to separate

claims under Section 1983.” Goudy v. Cummings, 922 F.3d 834, 838 (7th Cir.

2019); JA03821. Rather, Washington “has presented a single claim: that the

defendants are liable for causing him to receive an unfair trial in violation of his

due process rights.” Goudy, 922 F.3d at 838 (causation requires courts to

“examine[] the cumulative effect of all false and misleading evidence” as opposed

to taking each instance of fabrication on its own. United States v.

Alahmedalabdaloklah, 76 F.4th 1183, 1231-32 (9th Cir. 2023)); see also Velez v.

City of Chicago, No. 1:18-CV-08144, 2023 WL 6388231, at *10 (N.D. Ill. Sept.

30, 2023) (alleged fabricated evidence evaluated in the aggregate”); cf. Juniper v.

Davis, 74 F.4th 196, 211–13 (4th Cir. 2023).

      When Otis and Rozetta’s fabrications are analyzed collectively, there is no

legitimate dispute that they were both the “but-for” and “proximate cause” of

Washington’s wrongful conviction and attendant loss of liberty. Gilliam, 932 F.3d

at 283. Without those fabrications, there would have been no evidence of

Washington’s alleged guilt and no prosecution in the first instance. See, e.g.,


                                          49
Johnson v. Gondo, No. CV GLR-19-995, 2020 WL 1529002, at *6 (D. Md. Mar.

31, 2020) (allowing claims to proceed where plaintiff’s guilty plea would not have

been entered “but for [police officers’] fabrication”); Rizk v. Mehirdel, No. 14-CV-

06434 (HG), 2022 WL 5184709, at *5 (E.D.N.Y. Oct. 5, 2022) (reasonable jury

could find prosecutors would not have brought charges but for fabricated

evidence).

III.   A Trial Is Required on Washington’s Suppression of Evidence Claim.

       To establish a constitutional violation based on the police’s suppression of

exculpatory evidence, Washington must demonstrate that the suppressed evidence

was material and favorable to him and Defendants suppressed the evidence in bad

faith. See Owens v. Baltimore City State's Att'ys Off., 767 F.3d 379, 396 (4th Cir.

2014); Gilliam, 932 F.3d at 283. Washington alleges that Defendants failed to

disclose (1) Otis’s and Rozetta’s statements that they could not identify the

shooter, and (2) their use of threats, feeding of facts, and other coercive tactics to

extract these false identifications (collectively referred to as “exculpatory

evidence”).

       In dismissing Washington’s suppression claim, the district court erroneously

concluded that there was no evidence on which a jury could reasonably rely to

conclude that Defendants withheld evidence from the prosecutor. This finding,




                                           50
however, is belied by the record, which contains direct and circumstantial evidence

on that issue. 6

       Washington has adduced sufficient evidence from which a jury could

conclude it was Defendants, not the prosecutor, who suppressed the exculpatory

evidence. First, Defendants deny that the exculpatory evidence exists in the first

place; they deny that Otis and Rozetta ever said they could not identify the shooter,

or that they employed any coercive tactics. See JA00059-00060; JA01005-01006;

JA01493, JA01539-01540. Consistent with those denials, Pellegrini’s admitted that

he did not disclose the exculpatory evidence to the prosecutor. JA01121-01122. A

jury could reasonably rely on the denials and this admission to find that

suppression.

       The district court credited Defendants’ testimony about generally disclosing

exculpatory evidence to the prosecutor and used this testimony to undermine

Washington’s suppression claim. JA03831. But the court may not selectively

weigh the evidence at summary judgment: Defendants’ testimony was that in this



6
 The district court also considered that circumstantial evidence has less probative
value on the bad faith element, but that is not the law. Wyatt v. Cole, 504 U.S. 158,
174 (1992) (concurring); Sedar v. Reston Town Ctr. Prop., LLC, 988 F.3d 756, 764
(4th Cir. 2021). On these facts, Washington has demonstrated Defendants’ bad
faith. See Gilliam, 932 F.3d at 240(finding bad faith where Defendants fabricated
evidence and suppressed exculpatory evidence).


                                         51
case, there was no exculpatory evidence to disclose. It does not matter what

Defendants’ disclosure habits were when they maintain there was nothing to

disclose.

      Second, there is no documentation in the homicide file memorializing the

exculpatory evidence. See generally JA01980-JA02094, JA03723-03745. Otis

testified that Pellegrini memorialized Otis’s statement that he could not identify the

shooter in handwritten notes. JA01727. This observation was consistent with

Pellegrini’s admitted practice of taking notes when conducting a preliminary

interview. JA01039. Pellegrini ordinarily turned such notes over to Requer to put

in the homicide file. JA01102. But, although the homicide file contains pages of

handwritten notes documenting information received for multiple witnesses, there

are no notes or reports documenting these initial police statements disavowing

knowledge of the shooter.

      There is no dispute that the homicide file is incomplete, but there is evidence

that supports an inference that even a complete homicide file still would not

contain any memorialization of the impeachment evidence. Pellegrini provided a

sworn interrogatory response regarding documents missing from the homicide file.

JA03607-03608. In his response he identified two types of missing documents:

polaroid photographs and a statement from Rozetta on December 27, 1986.

JA03607-03608. Significantly, Pellegrini does not identify any missing notes, prior


                                         52
memorialized statements, or reports relating to Otis’s December 29, 1986,

interview, nor Rozetta’s January 3, 1987, interview (the interview in which Rozetta

testified that she again told Defendants she could not identify the shooter and also

did not identify Washington as the shooter). JA03607-03608; JA0255802562.

      Notwithstanding this evidence, the district court ruled that Washington

failed to meet his burden—namely, that he failed to show that the exculpatory

evidence was not turned over. But the summary judgment record, properly

construed, permits only one reasonable conclusion: Washington did not have the

exculpatory evidence and neither did the prosecution.

      For starters, the State’s pre-trial discovery disclosures explicitly stated that

no exculpatory evidence was disclosed. JA00242; JA00244. Otis’s and Rozetta’s

initial police statements revealing that they could not identify the perpetrator

inarguably constituted the kind of exculpatory evidence that would be disclosed

here, but it was not listed. Nor were the coercive police tactics leading up to the

signed statements. See JA00242; JA00244; compare JA00245 (indicating through

a handwritten note that evidence relevant to paragraph 9 was attached).

      The trial prosecutor, Ruth Finch, testified to her disclosure practices and

made clear that the State’s lack of disclosure about Otis’s and Rozetta’s

impeachment evidence was due to a lack of knowledge, rather than prosecutorial

suppression. In her deposition, Finch testified that she took her obligations as a


                                          53
prosecutor seriously, which included disclosing exculpatory and impeaching

evidence to the defense. JA02929-02930. Finch further testified that if police told

her that Otis initially stated that he could not identify the shooter, she would have

disclosed that information to the defense. JA02970-02971. Similarly, Finch would

have disclosed the destruction of evidence memorializing exculpatory evidence

(notes documenting the witnesses’ initial accounts) and police threats to take a

child away from their parent unless they cooperated with the investigation (as Otis

alleges they did to him). JA02971-02974, JA02976-02978, JA02982.

      In violation of the summary judgment standard, the district court elected not

to credit this evidence and instead focused on the fact that Finch did not

specifically recall Washington’s prosecution. JA03705-03707. This was contrary

to the law. It is not unusual or problematic that Finch cannot specifically recall

what actions she took during Washington’s prosecution because a lack of

recollection is a common issue in witness testimony. This is why the Federal Rule

of Evidence 406 allows for the admission of habit evidence. Fed. R. Evid. 406; see

Sheetz v. Wal-Mart Stores, E., L.P., No. 4:15-CV-02210, 2017 WL 5625770, at *2

(M.D. Pa. Nov. 22, 2017) (“The purpose of habit evidence is fill the gap in direct

evidence about what [a person] did on a specific occasion with circumstantial

evidence sufficient to reasonably allow one to conclude that the [person] probably

acted in conformity with [the] usual patter on the occasion in question.”).


                                          54
      Finch was a prosecutor for almost 11 years, about eight of which were prior

to Washington’s trial, and she testified that throughout her career she complied

with her disclosure obligations. JA02814-02815, JA02929-02930. This is precisely

the type of habit evidence a jury could rely on to find that Finch’s lack of

disclosure was because Defendants did not inform her of the exculpatory evidence.

The district court should have considered and credited this evidence at summary

judgment. See Howard, 68 F.4th at 951 (“[C]ourt may accept Rule 406 evidence at

the summary judgment stage as providing an inference that a routine practice was

actually carried out.”).

      Further proof that the exculpatory evidence had not been produced comes

from Washington’s suppression hearing—because if his defense attorney Paul

Polansky had it, he would have used it. 7 The very purpose of Washington’s motion

to suppress was to exclude Otis’s identification. JA02750-02752. Polasky

specifically questioned Pelligrini about the circumstances of Otis’s statement and

photo identification and did not impeach Pellegrini. See generally JA02786-02787,

JA02793-02797. The only reasonable inference here is that Polanksy was not given

Otis’s initial, exculpatory statement, not that Polansky filed that evidence away and



7
 The district court also incorrectly states that the “sole” basis for Washington’s
suppression claim derived from inferences based on Polansky’s witness
examinations. JA03831-03832. To the contrary, as detailed above, Washington
presented multiple arguments in support of his suppression claim.
                                          55
chose not to use it. By refusing to credit this evidence and drawing reasonable

inferences therefrom, the district court deviated from the summary judgment

standard. JA03831-03833. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255

(1986) (“The evidence of the non-movant [here, Washington] is to be believed, and

all justifiable inferences are to be drawn in his favor.”).

      A jury could reasonably rely on Defendants’ denials, Pellegrini’s admission,

the homicide file, Finch’s lack of disclosure, the omissions from Pellegrini’s list of

missing documents, and Polansky’s witness examinations to infer that Defendants

did not disclose the impeachment evidence to the prosecutor. The district court

erred when it disregarded this evidence. 8



8
  In a footnote, the district court wondered about an alternative basis to deny
Washington’s suppression claim, opining that there is a “significant question”
about whether the exculpatory evidence was material. JA03832. The answer is:
Yes, the exculpatory evidence was material to the issues in Washington’s criminal
trial. Evidence is material in the context of suppression claims if it “undermines
confidence in the verdict.” Youngblood v. W. Virginia, 126 S. Ct. 2188, 2190 (2006).
Under Brady, evidence is material when there is ‘any reasonable likelihood’ it
could have ‘affected the judgment of the jury.’” Id. Materiality must be evaluated
based on the cumulative effect of all suppressed evidence and not in isolation piece
by piece. Wearry v. Cain, 136 S. Ct. 1002, 1006 (2016); Kyles v. Whitley, 514 U.S.
419, 421 (1995). Ultimately, materiality is a jury question. See Wearry, 136 S.Ct. at
1006-07.
        Here, the only evidence used to charge Washington were the “eyewitness”
accounts from Otis and Rozetta, just as the only evidence used to convict Mr.
Washington was Otis’ statement. Without their statements, there was no case. Otis
and Rozetta’s truthful accounts to the police were, therefore, unquestionably
material. See, e.g., Wearry, 136 S. Ct. at 1004-05 (police and other records that
                                           56
IV.   WASHINGTON’S FEDERAL UNLAWFUL DETENTION AND
      MALICIOUS PROSECUTION CLAIMS MUST BE TRIED.

      Washington’s claims for unlawful detention and malicious prosecution also

rose and fell with the district court’s collateral estoppel finding. When the evidence

of fabrication is properly credited, this prosecution lacked any probable cause, and

Washington’s claims should proceed to trial. 9

V.    WASHINGTON’S INTENTIONAL INFLICTION OF EMOTIONAL
      DISTRESS CLAIM MUST BE TRIED.

      The district court’s erroneous collateral estoppel ruling infected

Washington’s claim intentional infliction of emotional distress (“IIED”) claim,



could have been used to impeach a state’s witness were material); Smith v. Cain,
565 U.S. 73, 74-75 (2012) (information that eyewitness could not see a
perpetrator’s face though he later identified defendant at trial was material).
        The evidence about the circumstances of Otis’s and Rozetta’s interviews was
also material to impeach the integrity of the police investigation and the State’s
trial theory, and Rozetta’s coercion strongly corroborated Otis’ independent
recantation. See Kyles, 514 U.S. at 447-49 (finding that the suppressed witness
statement could have been used by the defense to argue that the police “set up” the
defendant); United States v. Bagley, 473 U.S. 667, 683-84 (1985) (holding that
undisclosed evidence that could have been used to impeach the testimony of state
law enforcement officers at trial is material); Owens, 767 F.3d at 397-98 (4th Cir.
2014); Barbee v. Warden, Md. Penitentiary, 331 F.2d at 846-47.
9
  So, too, for Washington’s failure to intervene claim, as well as his state law
claims, which were dismissed owing to the collateral estoppel ruling. Because the
district court’s dismissal was erroneous and must be reversed, Washington’s failure
to intervene and state law claims should be reinstated. The district court did not
address Defendants’ qualified immunity defense in light of its rulings, so that issue
(which is unavailable on these facts, see JA00479-00481) is not part of this appeal.

                                         57
because the court concluded that if Washington was estopped from proving that

Defendants manufactured guilt evidence, he also could not prove the “requisite

extreme and outrageous conduct to mount an IIED claim.” When Defendants’

misconduct in procuring Otis’ and Rozetta’s fabricated evidence is considered,

however, Washington’s IIED claim survives. There is sufficient evidence in the

record for a reasonable jury to decide that Defendants suppressed and fabricated

material evidence in order to arrest, charge, prosecute, convict, and imprison

Washington for decades for a crime he did not commit. See Sections II-III, supra.

There can be no dispute that such conduct, if proven, is “extreme and outrageous.”

See Burgess, 2017 WL 4947004, at *22 (D. Md. Oct. 31, 2017); Harris v. Jones,

380 A.2d 611, 615-16 (Md. Ct. App. 1977); Restatement (2d) of Torts § 46, cmt.

(e).

       Alternatively, the district court found that Washington “ha[d] not adduced

sufficient evidence of severe emotional distress” because he is currently “living a

productive life . . . .” JA03836. This ruling is impossible to square with

Washington’s 31 years of wrongful conviction, and the testimony Washington gave

on that score.

       To be “severe,” emotional distress “‘need not produce total emotional or

physical disablement’ and ‘severity must be measured in light of the

outrageousness of the conduct and the other elements of the tort.’” Brengle v.


                                          58
Greenbelt Homes, Inc., 804 F. Supp. 2d 447, 455 (D. Md. 2011) (quoting B.N. v.

K.K., 312 Md. 135, 148 (Md. Ct. App. 1988)). Washington testified that prison was

“inhumane”: he was forced to live in a cell for three decades, torn from his young

son, partner, and other family and friends; subject to repeated lockdowns, confined

with cellmates were often unpredictable and suffered from severe mental illness;

and experienced violence and intrusive searches by correctional officers. JA00621-

00627; JA03343-03344. Since leaving prison, Washington suffers from sleep

deprivation and nightmares about his wrongful conviction and imprisonment.

JA00621-00622. This is sufficient—particularly at summary judgment—to set

forth “severe” emotional distress. See Brengle., 804 F. Supp. 2d at 456 (severe

emotional distress properly alleged where plaintiff alleged “severe anxiety,”

“isolation,” “extreme sadness” and that the distress was disabling).

      Additionally, a jury can infer severe emotional distress from Defendants’

misconduct. See Harris, 380 A.2d at 615-16. It is hard to imagine anything more

disabling and devastating than being in prison for 31 years for a crime you did not

commit. Id.; cf. Schlup v. Delo, 513 U.S. 298, 324 (1995) (injustice that results

from the conviction of an innocent person is at the “core of our criminal justice

system”).




                                         59
                                    CONCLUSION

      For the foregoing reasons, Washington respectfully asks this Court to reverse

the district court’s grant of summary judgment and remand this case for trial.

                                              Respectfully submitted,
                                              GARY WASHINGTON


                                              By: /s/ Renee Spence
                                              One of Plaintiff-Appellant’s Attorneys



Attorneys for Plaintiff-Appellant
Jon Loevy
Gayle Horn
Roshna Bala Keen
Renee Spence
LOEVY & LOEVY
311 N. Aberdeen St., Third Floor
Chicago, IL 60607
(312) 243-5900
spence@loevy.com




                                         60
                    CERTIFICATE OF COMPLIANCE

     1.    This document complies with type-volume limits because, excluding

           the parts of the document exempted by Fed. R. App. P. 32(f) (cover

           page, disclosure statement, table of contents, table of authorities,

           statement regarding oral argument, signature block, certificates of

           counsel, addendum attachments):

                 This document contains 12,929 words by using Microsoft Word

                 2010 to calculate the word count.



     2.    This document complies with the typeface requirements because:

                 This document has been prepared in a proportional spaced

                 typeface using Microsoft Word in 14 point Times New Roman.


Dated: October 24, 2023
                                            /s/ Renee Spence
                                            Renee Spence
                                            Loevy & Loevy
                                            311 N. Aberdeen St., 3rd FL
                                            Chicago, IL 60607
                                            (312) 243-5900 - Telephone
                                            (312) 243-5902 - Facsimile
                                            spence@loevy.com
                      CERTIFICATE OF FILING AND SERVICE

        I hereby certify that on October 24, 2023, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF System, which will send notice of such filing to all the
registered CM/ECF users.

                                                      /s/ Renee Spence
                                                      Renee Spence
                                                      Loevy & Loevy
                                                      311 N. Aberdeen St., 3rd FL
                                                      Chicago, IL 60607
                                                      (312) 243-5900 - Telephone
                                                      (312) 243-5902 - Facsimile
                                                      spence@loevy.com
